  Case 19-00228-mdc         Doc 69    Filed 05/12/22 Entered 05/12/22 08:10:47              Desc Main
                                      Document     Page 1 of 1

                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  IN RE: Joseph Walker aka Joe Walker
                              Debtor/Plaintiff(s)              CHAPTER 13

  M&T Bank
                         Secured Creditor/Defendant
                vs.                                            ADVERSARY NO. 19-00228 MDC

  Joseph Walker aka Joe Walker                                 BANKRUPTCY NO. 19-12097 MDC
                             Debtor/Plaintiff(s)

  Kenneth E. West Esq.
                               Trustee


                                              ORDER

       AND NOW, upon consideration of M&T Bank’s Motion to Compel Discovery Responses (“the
Motion”), and the request for an expedited hearing thereon, and sufficient cause being shown, it is
hereby ORDERED that:

       1.     The request for an expedited hearing is GRANTED.

       2.                                                     May 19, 2022
              A hearing to consider the Motion shall be held ______________         10:00 a.m.
                                                                                at _____________,   in
              the United States Bankruptcy Judge, in Courtroom 2 at the United States Bankruptcy Court,
              Robert N.C. Nix Building, 900 Market Street, Suite 400, Philadelphia, Pa. 19107-4299.
              Parties may appear telephonically.

       3.     Written objections or other responsive pleadings to the Motion (while not required) may
              be filed up to the time of the hearing and all objections will be considered at the hearing.

       4.     The Movant(s) shall serve the Motion and this Order on Debtor by facsimile transmission

                                                                             May 12, 2022
              or e-mail transmission no later than 5:00 p.m. on or before ______                       .
              Service under this Paragraph is effective if made to each party identified above through
              the court’s CM/ECF system.

        5.    The Movant shall file a Certification of Service as required by Local Rule 9014-4.



Date: May 11, 2022
                                             MAGDELINE D. COLEMAN
                                             CHIEF U.S. BANKRUPTCY JUDGE
